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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                            )
                                                  )    CASE NO. 21-50289-PWB
BRIDGET SURGRETTA TAYLOR,                         )
                                                  )    CHAPTER 7
         Debtor.                                  )

                            MOTION TO WITHDRAW AS COUNSEL

         COMES NOW Berry and Associates, counsel-of-record for the Debtor in the above-

styled Chapter 7 case, and files this "Motion to Withdraw as Counsel” (“Motion”), showing to

this Court the following:

                                                  1.

         This Court has jurisdiction in this matter pursuant to 28 U.S.C. Section 1334, 28 U.S.C.

Section 151, and 28 U.S.C. Section 157.

                                                  2.

         This Court is the proper venue for this matter pursuant to 28 USC Section 1409.

                                                  3.

         This matter is a core proceeding within the contemplation of 28 U.S.C. Section 157.

                                                  4.

         Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United

States Code January 13, 2021 and is eligible for relief under 11 U.S.C. §109. Debtor, pro se,

converted the case to a Chapter 7 proceeding on or about March 9, 2021.

                                                 5.
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       Debtor has notified counsel that she wishes to terminate Berry and Associates as counsel
as of March 2, 2021, and has consented to this Withdrawal. Since Debtor has made it clear that
she no longer wants representation from Berry and Associates she waives any waiting period
and intends to represent herself pro se going forward.


                                                 6.
       Debtor has been informed of counsel's intention to withdraw via phone call, email and a
letter dated and mailed March 11, 2021. A copy of the letter is attached hereto.




       WHEREFORE, Debtor prays:
       (a) That this Motion be filed, read, and considered;
       (b) That this Honorable Court grant this Motion; and,
       (c) That this Honorable Court grant such further relief as it may deem just and proper.


                                              Respectfully submitted,

                                                     /s/
                                              Carrie Oxendine
                                              GA Bar No. 141478
                                              Attorney for Debtor
                                              BERRY AND ASSOCIATES
                                              2751 Buford Hwy, Suite 600
                                              Atlanta, GA 30324
                                              (404) 235-3300
                                              carrie@mattberry.com
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                                                                                                                 Phone     (404) 235-3300
                                                                                                                 Toll-free (800) 720-8620
                                                                                                                 Fax       (404) 235-3333




                                                          March 11, 2021

    Bridget Surgretta Taylor
    3947 Veracruz Court
    Decatur, Georgia 30034

       RE: Your Bankruptcy Case 21-50289

    Dear Ms. Taylor,

            Because you have terminated Berry and Associates, consenting to our withdrawal from your case, I will file a
    "Motion to Withdraw as Counsel" in your case.

             Our withdrawal as your counsel will not affect the course or proceedings of your case. The United States
    Bankruptcy Court for the Northern District of Georgia will retain jurisdiction over your now converted Chapter 7 case.
    You will be responsible for going forward in your case and to prepare for, attend and participate in any hearing, trial,
    conference and discovery proceeding, that is scheduled. The clerk’s office is located at 75 Ted Turner Drive, SW, Atlanta,
    GA 30303 room 1340. The phone number is 404-215-1000.

              You will receive notice of our Motion to Withdraw as Counsel once that is filed. You may file any objection
    that you have to that motion with the clerk’s office pursuant to the instructions in that motion.

             There is a 341 Meeting of Creditor’s scheduled on April 13, 2021 at 2:40 P.M. This meeting will be Telephonic.
    To attend, Dial: 866−909−7148 and enter: 4958999, when prompted for participation code. Also, the due date for your
    second financial management course to be filed with the Court is scheduled for May 28, 2021. Failure to file the certificate
    may result in the Court denying your case a discharge.

              Once the Court enters its order allowing us to withdraw, you should notify the Clerk of the Court of whether you
    intend to proceed pro se (without counsel) or whether you have obtained new counsel. New counsel should file its
    appearance with the Court as soon as possible. You also must notify the Clerk of the Court of your correct mailing address,
    being sure to keep them up-to-date with that information. Pleadings and correspondence will be served directly on you
    until new counsel enters an appearance. Failure to follow-through on any of these responsibilities could have adverse
    effects on your case, including the dismissal of your Chapter 7 case.

             If you have any questions, do not hesitate to contact this office.

                                                    Sincerely,



                                                    Carrie Oxendine
                                                    Attorney at Law




Served via email, regular mail, & certified mail: 9171 9690 0935 0261 4909 68




                               2751 Buford Highway  Suite 600  Atlanta, Georgia 30324
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                                  CERTIFICATE OF SERVICE

        This is to certify under penalty of perjury that I am over the age of 18 and that on this day I
served the following parties with a copy of the attached pleadings by placing true copies of same in the
United States Mail with adequate postage affixed to ensure delivery, addressed to:

                                         S. Gregory Hays
                                        Chapter 7 Trustee
                                  Hays Financial Consulting, LLC
                                             Suite 555
                                       2964 Peachtree Road
                                        Atlanta, GA 30305

                                         Bridget S. Taylor
                                        3947 Veracruz Court
                                         Decatur GA 30034

                   (Plus to all Creditors on the attached Creditor Mailing Matrix)

       This the 11th day of March, 2021.

                                                       /s/
                                                 Carrie Oxendine
                                                 Attorney for the Debtor

BERRY & ASSOCIATES
2751 Buford Highway, Suite 600
Atlanta, GA 30324
(404) 235-3300
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Label Matrix for local noticing           AmSherDocument
                                                 Collection Services
                                                                  Page 6 of 7          American Express National Bank, AENB
113E-1                                    4524 Southlake Parkway                       c/o Zwicker and Associates, P.C.
Case 21-50289-pwb                         Suite 15                                     Attorneys/Agents for Creditor
Northern District of Georgia              Birmingham, AL 35244-3271                    P.O. Box 9043
Atlanta                                                                                Andover, MA 01810-0943
Thu Mar 11 16:32:37 EST 2021
Amex                                      Atlanta Postal Credit Union                  Atlanta Postal Credit Union
Correspondence/Bankruptcy                 c/o Albert F. Nasuti                         Attn: Bankruptcy
PO Box 981540                             Thompson, O’Brien, Kemp & Nasuti, P.C.       3900 Crown Rd
El Paso, TX 79998-1540                    40 Technology Parkway South                  Atlanta, GA 30380-0001
                                          Suite 300
                                          Peachtree Corners, GA 30092-2924
Matthew Thomas Berry                      (p)JPMORGAN CHASE BANK N A                   Angela D. Forte
Matthew T. Berry & Associates             BANKRUPTCY MAIL INTAKE TEAM                  POB 477
Suite 600                                 700 KANSAS LANE FLOOR 01                     Redan, GA 30074-0477
2751 Buford Highway, NE                   MONROE LA 71203-4774
Atlanta, GA 30324-5457

S. Gregory Hays                           Helix                                        JPMorgan Chase Bank, N.A.
Hays Financial Consulting, LLC            11201 North Tatum Blvd Suite 300             s/b/m/t Chase Bank USA, N.A.
Suite 555                                 PMB 9612                                     c/o National Bankruptcy Services, LLC
2964 Peachtree Road                       Phoenix, AZ 85028-6039                       P.O. Box 9013
Atlanta, GA 30305-4909                                                                 Addison, Texas 75001-9013

Lakeland                                  Lendio                                       Lendmark Financial Services
11201 North Tatum Blvd Suite 300          11201 North Tatum Blvd Suite 300             Attn: Bankruptcy
PMB 9612                                  PMB 9612                                     1735 North Brown Rd, Ste 300
Phoenix, AZ 85028-6039                    Phoenix, AZ 85028-6039                       Lawrenceville, GA 30043-8228


(p)LENDMARK FINANCIAL SERVICES            Loan Depot                                   Makwa
2118 USHER ST                             PO Box 660275                                11201 North Tatum Blvd Suite 300
COVINGTON GA 30014-2434                   Dallas, TX 75266-0275                        PMB 9612
                                                                                       Phoenix, AZ 85028-6039


MidFirst Bank                             Midland Mortgage Co                          Albert F. Nasuti
999 N.W Grand Blvd                        Attn: Customer Service/Bankruptcy            Thompson, O’Brien, Kemp & Nasuti, PC
Oklahoma City, OK 73118-6051              PO Box 26648                                 Suite 300
                                          Oklahoma City, OK 73126-0648                 40 Technology Parkway South
                                                                                       Peachtree Corners, GA 30092-2924

NetCredit                                 Office of the United States Trustee          Orion
175 West Jackson Boulevard                362 Richard Russell Building                 c/o PRA Receivables Management, LLC
Suite 1000                                75 Ted Turner Drive, SW                      PO Box 41021
Chicago, IL 60604-2863                    Atlanta, GA 30303-3315                       Norfolk, VA 23541-1021


Orion Portfolio Services II, LLC          Carrie L Oxendine                            PRA Receivables Management, LLC
c/o PRA Receivables Management, LLC       Matthew T. Berry & Associates                PO Box 41021
PO Box 41021                              Suite 600                                    Norfolk, VA 23541-1021
Norfolk VA 23541-1021                     2751 Buford Highway NE
                                          Atlanta, GA 30324-5457

RISE Credit                               Laura D. Suggs                               Bridget Surgretta Taylor
Attn: Bankruptcy                          Campbell & Brannon, LLC                      3947 Veracruz Court
PO Box 101808                             5565 Glenridge Connector                     Decatur, GA 30034-5109
Fort Worth, TX 76185-1808                 Suite 350
                                          Atlanta, GA 30342-4705
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United States Attorney                                   Document     Page 7 of 7
Northern District of Georgia
75 Ted Turner Drive SW, Suite 600
Atlanta GA 30303-3309




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  Lendmark Financial Services, LLC
Attn: Bankruptcy                                     2118 Usher Street
PO Box 15298                                         Covington, GA 30014
Wilmington, DE 19850




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)MidFirst Bank                                     End of Label Matrix
999 N.W. Grand Blvd                                  Mailable recipients    30
Oklahoma City, OK 73118-6051                         Bypassed recipients     1
                                                     Total                  31
